Case 1:20-cv-07193-VEC Document 31-11 Filed 06/18/21 Page 1 of 9




         Exhibit K
Case 1:20-cv-07193-VEC Document 31-11 Filed 06/18/21 Page 2 of 9
Case 1:20-cv-07193-VEC Document 31-11 Filed 06/18/21 Page 3 of 9
Case 1:20-cv-07193-VEC Document 31-11 Filed 06/18/21 Page 4 of 9
Case 1:20-cv-07193-VEC Document 31-11 Filed 06/18/21 Page 5 of 9
Case 1:20-cv-07193-VEC Document 31-11 Filed 06/18/21 Page 6 of 9
Case 1:20-cv-07193-VEC Document 31-11 Filed 06/18/21 Page 7 of 9
Case 1:20-cv-07193-VEC Document 31-11 Filed 06/18/21 Page 8 of 9
Case 1:20-cv-07193-VEC Document 31-11 Filed 06/18/21 Page 9 of 9
